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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No. 20-62162-CIV-SMITH

  DANNY RUIZ GARCIA,

         Petitioner,

  v.

  FIELD OFFICE DIRECTOR, MIAMI
  FIELD OFFICE, U.S. IMMIGRATION &
  CUSTOMS ENFORCEMENT,

         Respondent.



                    ORDER OF REFERRAL TO MAGISTRATE JUDGE

        IT IS ORDERED that pursuant to 28 U.S.C. § 636(b)(1) and Rule 1 of the Magistrate

 Rules of the Southern District of Florida this case is REFERRED to Magistrate Judge Valle for a

 ruling on all non-dispositive matters and a report and recommendation on all dispositive matters.

        DONE and ORDERED in Fort Lauderdale, Florida this 26th day of October, 2020.




 cc: All counsel of record
